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  6                           UNITED STATES DISTRICT COURT
  7                        SOUTHERN DISTRICT OF CALIFORNIA
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  9    ROBERT MADRID,                                      CASE NO. 07cv1214 BTM
                                                                    03cr210 BTM
 10                                     Petitioner,
                                                           ORDER:
 11
              vs.                                          ENTERING JUDGMENT AND
 12                                                        DENYING CERTIFICATE OF
                                                           APPEALABILITY
 13
                                                           and
 14    UNITED STATES OF AMERICA,
                                                           DENYING MOTION TO PROCEED
 15                                  Respondent.           IN FORMA PAUPERIS [Doc. #673]
                                                           AS MOOT
 16
 17          This Court, in a separate order, dismissed Petitioner’s motion under 28 U.S.C. § 2255.
 18   Judgment is hereby entered dismissing the § 2255 motion. In addition, Petitioner has not
 19   shown any basis for relief and has failed to show a colorable claim of violation of his rights.
 20   Therefore, a certificate of appealability is DENIED.
 21          Petitioner had also filed a motion to proceed in forma pauperis in connection with his
 22   § 2255 motion. As no fee is required in order to file a § 2555 motion, Petitioner’s motion to
 23   proceed in forma pauperis is DENIED as moot.
 24
 25   IT IS SO ORDERED.
 26   DATED: July 12, 2007
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 28                                               Hon. Barry Ted Moskowitz
                                                  United States District Judge

                                                      1                                       07cv1214
